2 F.3d 1149
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Jeffrey MATTHEWS, Petitioner-Appellant,v.Lloyd L. WATERS;  Attorney General of the State of Maryland,Respondents-Appellees.
    No. 93-6489.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  July 16, 1993.Decided:  August 5, 1993.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  J. Frederick Motz, District Judge.  (CA-92-1675)
      Jeffery Matthews, Appellant Pro Se.
      John Joseph Curran, Jr., Attorney General, Richard Bruce Rosenblatt, Assistant Attorney General, Diane Elizabeth Keller, Assistant Attorney General, Baltimore, Maryland, for Appellees.
      D.Md.
      DISMISSED.
      Before NIEMEYER, HAMILTON, and WILLIAMS, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Jeffery Matthews seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254 (1988).  Our review of the record and the district court's opinion adopting the report and recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Matthews v. Waters, No. CA-92-1675 (D. Md. Mar. 16, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    